Case 8:04-cr-00438-JSM-TBM Document 281 Filed 11/03/10 Page 1 of 6 PageID 505
Case 8:04-cr-00438-JSM-TBM Document 281 Filed 11/03/10 Page 2 of 6 PageID 506
Case 8:04-cr-00438-JSM-TBM Document 281 Filed 11/03/10 Page 3 of 6 PageID 507
Case 8:04-cr-00438-JSM-TBM Document 281 Filed 11/03/10 Page 4 of 6 PageID 508
Case 8:04-cr-00438-JSM-TBM Document 281 Filed 11/03/10 Page 5 of 6 PageID 509
Case 8:04-cr-00438-JSM-TBM Document 281 Filed 11/03/10 Page 6 of 6 PageID 510
